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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


JENNIFER VANDERSTOK, et al.,

       Plaintiffs,                           Case No. 4:22-cv-00691-O

  v.

MERRICK GARLAND, in his official
capacity as Attorney General of the United
States, et al.,

       Defendants.


                 DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFFS’
                     MOTION FOR PRELIMINARY INJUNCTION
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                                          INTRODUCTION

        In two carefully reasoned decisions, courts in parallel cases have denied motions for

preliminary injunctions similar to Plaintiffs’ motion here. Morehouse Enters. v. Bureau of Alcohol, Tobacco,

Firearms and Explosives (ATF), No. 3:22-CV-116, 2022 WL 3597299 (D.N.D. Aug. 23, 2022), appeal

docketed; Div. 80, LLC v. Garland, No. 3:22-CV-148, 2022 WL 3648454 (S.D. Tex. Aug. 23, 2022). The

Court should similarly deny Plaintiffs’ motion.

        Congress has vested in ATF the authority to promulgate regulations necessary to enforce

federal firearms laws, including advising the firearms industry and the public of the agency’s

understanding of those laws. To explain the application of certain statutory terms to advances in

firearms technology, ATF undertook the rulemaking at issue here. As relevant here, the statutory

definition of “firearm” includes the “frame or receiver” of a firearm, which is a firearm’s primary

structural component. Since the agency first promulgated a regulatory definition of that term in 1968,

technological advances have led to an increasing variety of frames and receivers. Technological

advances have also made it easier for companies to create firearm parts kits, standalone frame and

receiver parts, and easy-to-complete frames or receivers, and companies under the mistaken

impression that these items do not qualify as “firearms” have sold these items without conducting

background checks or maintaining records of such sales. As a result, persons prohibited from

possessing firearms have bought these kits and easy-to-complete frames and receivers without

undergoing background checks. When such firearms are used in crime, they cannot typically be traced

because they lack serial numbers.

        To provide clarity to the public and the firearms industry on the proper application of federal

law, ATF promulgated a rule updating its definition of “frame or receiver” and other statutory and

regulatory terms. Notwithstanding the clear statutory authority underlying the agency’s rule and the

critical law enforcement need for updated regulations, Plaintiffs brought this pre-enforcement facial
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challenge that seeks to enjoin the rule, claiming that the agency lacks the statutory authority to update

its regulations. Plaintiffs are unlikely to succeed on the merits of this claim, or their claim that the rule

is arbitrary and capricious. Plaintiffs also fail to show that they are likely to suffer imminent irreparable

harm absent emergency injunctive relief, or that the balance of the equities supports such relief here.

The Court should therefore deny Plaintiffs’ motion.

I.        Statutory Background

          Congress enacted the Gun Control Act of 1968, as amended, 18 U.S.C. §§ 921 et seq. (GCA),

because “existing Federal controls over [firearms moving in interstate commerce] do not adequately

enable the States to control this traffic. . . .” Omnibus Crime Control & Safe Streets Act of 1968,

Pub. L. No. 90-351 § 901(a)(1), 82 Stat. 197, 225. 1 Congress determined that “only through adequate

Federal control . . . over all persons engaging in the businesses of importing, manufacturing, or dealing

in [these weapons], can this grave problem be properly dealt with.” Id. § 901(a)(3) (emphasis added).

Accordingly, Congress enacted requirements for persons engaging in the business of importing,

manufacturing, or dealing in “firearms.” See generally 18 U.S.C. §§ 922-923.

          Congress defined “firearm” to include “any weapon . . . which will or is designed to or may

readily be converted to expel a projectile by the action of an explosive” and “the frame or receiver of

any such weapon.” Id. § 921(a)(3). However, Congress did not define the terms “frame” or “receiver.”

See id. § 921. Congress requires individuals and entities that import, manufacture, or deal in firearms

to receive a federal firearms license, id. § 923(a), to maintain records of firearm acquisition and transfer

as prescribed by regulation, id. § 923(g)(1)(A), and to conduct background checks before transferring

firearms to a non-licensee, id. § 922(t). Congress also requires licensed importers and manufacturers

to identify each firearm they import or manufacture by means of a serial number on the receiver or

frame of the weapon. Id. § 923(i). Congress has also vested in ATF the authority to prescribe

1
    Throughout this brief, internal alterations and citations are omitted from relevant citations.
                                                      2
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regulations “necessary to carry out the provisions of” the GCA. Id. § 926(a).

II.     Regulatory Background

        ATF has promulgated regulations implementing the GCA. See 27 C.F.R. parts 478-479. Over

fifty years ago, ATF defined the statutory term “frame or receiver” as “[t]hat part of a firearm which

provides housing for the hammer, bolt or breechblock, and firing mechanism, and which is usually

threaded at its forward portion.” Final Rule, Commerce in Firearms and Ammunition, 33 Fed. Reg.

18,555, 18,558 (Dec. 14, 1968), codified at 27 C.F.R. § 478.11. 2 This definition was meant to provide

direction as to which portion of a weapon is the frame or receiver for purposes of licensing,

serialization, and recordkeeping, thereby ensuring that a component necessary for the weapon’s

functioning could be traced if the weapon was used in a crime. Final Rule, Definition of “Frame or

Receiver” and Identification of Firearms, 87 Fed. Reg. 24,652, 24,652 (Apr. 26, 2022) (Rule).

        However, a restrictive application of this definition—as some courts have recently used—

would not describe the frame or receiver of most current firearms. Id. Most modern weapon designs

have a split or multi-piece receiver where the relevant fire control components either are housed by

more than one part of the weapon or incorporate a striker rather than a hammer to fire the weapon.

Id. If the restrictive definition were followed, as many as 90% of all firearms would not have any frame

or receiver subject to regulation. Id.

        Furthermore, technological advances in the decades since the “frame or receiver” definition

was adopted have made it easier to create firearm parts kits, standalone frame or receiver parts, and

easy-to-complete frames or receivers. Id. Some individuals and companies have sold these items to

unlicensed persons without being licensed themselves, maintaining any records, or conducting

background checks. Id. These products allow unlicensed persons to make firearms quickly and easily.

2
  Plaintiffs incorrectly date this regulatory definition to 1978 instead of 1968. The set of 1978 final
rules cited by Plaintiffs made no change to ATF’s regulatory definition of “firearm frame and
receiver.” Compare id. with Final Rule, 43 Fed. Reg. 13,531, 13,537 (Mar. 31, 1978).
                                                   3
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Id. Because such privately made firearms typically lack serial numbers, it is extremely difficult for law

enforcement to trace them when used in a crime. Id. at 24,652, 24,659.

III.    The Rule

        To update its decades-old definition of “frame or receiver,” ATF published a notice of

proposed rulemaking. Proposed Rule, Definition of “Frame or Receiver” and Identification of

Firearms, 86 Fed. Reg. 27,720 (May 21, 2021) (Notice). ATF promulgated the final rule on April 26,

2022. 87 Fed. Reg. 24,652. Upon consideration of over 290,000 public comments, ATF explained its

responses to the comments, its reasoned basis for the Rule’s provisions, and its rationale for updating

its regulations. Id. at 24,652-734. As relevant here, the Rule contains the following key provisions:

        A.      Definition of “Firearm”

        Under the GCA and implementing regulations, a “firearm” includes “any weapon (including

a starter gun) which will or is designed to or may readily be converted to expel a projectile by the

action of an explosive.” 18 U.S.C. § 921(a)(3)(A); 27 C.F.R. § 478.11. This definition thus includes

currently inoperable weapons if they are “designed to” or “may readily be converted” to expel a

projectile by the action of an explosive. See 87 Fed. Reg. at 24,661 nn.42-43. In recent years, weapon

parts kits, or aggregations of weapon parts—some of which contain all components necessary to easily

complete a functional weapon—have increasingly been sold to persons without background checks

or recordkeeping. Id. at 24,662. Some of these firearm kits include jigs, templates, and tools that allow

the purchaser to easily convert the weapon to a functional state. Id. Such weapon parts kits or

aggregations of weapon parts that are designed to or may readily be converted to expel a projectile by the

action of an explosive are “firearms” under the GCA and its regulations. Id. at 24,662 n.44.

        To reflect existing case law, the Rule amends ATF’s regulatory definition of “firearm,”

providing that “[t]he term shall include a weapon parts kit that is designed to or may readily be

completed, assembled, restored, or otherwise converted to expel a projectile by the action of an

                                                    4
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explosive.” See id. at 24,662, 24,727, 24,735.

        B.      Definition of “Frame or Receiver”

        The Rule provides an updated definition of the term “frame or receiver.” 3 See id. at 24,652,

24,727. The Rule further defines “frame” for handguns, and “receiver” for rifles, shotguns, and other

weapons that expel a projectile. See id. at 24,727, 24,735. Unlike the 1968 definition, these updated

definitions now describe only a single housing or structural component for a specific fire control

component of a given weapon—including “variants thereof,” a term that is also defined. Id. For

handguns, the frame is the housing or structure for the component—i.e., the sear or its equivalent—

designed to hold back the hammer, striker, bolt, or similar primary energized component before

initiating the firing sequence. Id. For long guns, the receiver is the housing or structure for the primary

component designed to block or seal the breech before initiating the firing sequence. Id.

        The definition of “frame or receiver” includes a frame or receiver that is partially complete,

disassembled, or nonfunctional—including a frame or receiver parts kit—that is designed to or may

readily be completed, assembled, restored, or otherwise converted to function as a frame or receiver.

Id. at 24,739; see also id. at 24,663, 24,727-28. However, the definitions of “frame” and “receiver”

specifically exclude forgings, castings, printings, or similar articles that have not yet reached a stage of

manufacture where they are clearly identifiable as unfinished component parts of weapons—e.g.,

unformed blocks of metal and other raw materials. Id. at 24,663, 24,728, 24,739.

        To provide notice as to how ATF evaluates firearm parts kits when making firearm

classifications, 4 the Rule states that in issuing classifications, ATF may consider any templates, jigs,



3
  Previously, ATF regulations included definitions for both “firearm frame or receiver” and “frame or
receiver.” 87 Fed. Reg. at 24,727.
4
  Exercising its delegated authority to administer federal firearms laws, 28 C.F.R. § 0.130, ATF has
provided both formal guidance (regulations) and informal guidance (classification determinations) as
to what constitute “firearms.” Although a manufacturer or dealer is not legally required to seek an
agency determination whether its product constitutes a “firearm” prior to the product’s manufacture
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molds, equipment, tools, instructions, guides, or marketing materials that are sold or otherwise made

available with the item or kit. 87 Fed. Reg. at 24,724-25, 24,739. To provide additional clarity, the

Rule includes five non-exclusive examples illustrating the application of the “frame or receiver”

definition to a “partially complete, disassembled, or nonfunctional frame or receiver.” Id. at 24,739.

        The Rule also defines “[r]eadily” to mean a process, action, or physical state that is fairly or

reasonably efficient, quick, and easy, but not necessarily the most efficient, speediest, or easiest

process, action, or physical state. Id. at 24,735. With respect to ATF’s classification of firearms,

relevant factors to making this determination include: (1) time (2) ease, (3) expertise, (4) equipment

(5) parts availability, (6) expense, (7) scope, and (8) feasibility. Id. This definition and factors are based

on case law interpreting the terms “may readily be converted to expel a projectile” in the GCA and

“can be readily restored to shoot” in the National Firearms Act (NFA). 86 Fed. Reg. at 27,663 & n.58.

        C.      Definition of “Privately Made Firearm”

        To account for recent technological advances, the Rule clarifies that the GCA’s definition of

“firearm” includes a “privately made firearm.” 87 Fed. Reg. at 24,735. A “privately made firearm”

(PMF) is a firearm (including a frame or receiver) that is assembled or otherwise produced by a person

other than a licensed manufacturer, and that does not contain a serial number placed by a licensed

manufacturer at the time of production. Id. The Rule does not restrict the private making of firearms

by non-licensees who are not otherwise prohibited by law from possessing them, and requires only

that such firearms that are taken into inventory by licensees be serialized and recorded so that they

may be traced by law enforcement if they are later involved in crime. Id. at 24,653, 24,742, 24,744.

                                         LEGAL STANDARDS

        “A preliminary injunction is an ‘extraordinary and drastic remedy,’” Munaf v. Geren, 553 U.S.



or sale, ATF provides such determinations to manufacturers or dealers who submit requests for
classification. See Sig Sauer, Inc. v. Brandon, 826 F.3d 598, 599 (1st Cir. 2016).
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674, 689-90 (2008) (citation omitted), that “should only issue if the movant shows: (1) a substantial

likelihood of prevailing on the merits; (2) a substantial threat of irreparable injury if the injunction is

not granted; (3) the threatened injury outweighs any harm that will result to the non-movant if the

injunction is granted; and (4) the injunction will not disserve the public interest,” La Union Del Pueblo

Entero v. FEMA, 608 F.3d 217, 219 (5th Cir. 2010). The last two factors merge when the government

is the opposing party. Nken v. Holder, 556 U.S. 418, 435 (2009). Because Plaintiffs “bring a facial

challenge” prior to the Rule’s enforcement, Plaintiffs “must establish that no set of circumstances

exists under which the [Rule] would be valid.” Associated Builders & Contractors v. NLRB, 826 F.3d 215,

220 (5th Cir. 2016).

                                              ARGUMENT

I.        Plaintiffs Have Failed to Demonstrate a Likelihood of Success on the Merits.

          A.      The Amendments to Regulatory Definitions Contained in the Rule Are Well
                  Within the Authority Delegated to ATF by Congress.

          Plaintiffs first assert that portions of the Rule conflict with the relevant federal firearms

statutes. Mem. Supp. Pls.’ Mot. for Prelim. Inj. at 13-21, ECF No. 16 (Pl.’s Mem.). However, the

Rule is a valid exercise of the authority ATF has been expressly granted by Congress.

          The Attorney General (AG) is responsible for enforcing the GCA and the NFA, and Congress

and the AG have expressly delegated the responsibility for administering and enforcing the GCA and

NFA to the Director of ATF. 5 18 U.S.C. § 926(a) expressly delegates the authority to prescribe “such

rules and regulations as are necessary to carry out the provisions” of the statute. “Because § 926

authorizes the [AG] to promulgate those regulations which are ‘necessary,’ it almost inevitably confers

some measure of discretion to determine what regulations are in fact ‘necessary.’” Nat’l Rifle Ass’n v.

Brady, 914 F.2d 475, 479 (4th Cir. 1990). Pursuant to this authority, ATF has for years issued



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    See 18 U.S.C. § 926(a); 26 U.S.C. § 7801(a)(2); 28 U.S.C. § 599A(c)(1); 28 C.F.R. § 0.130(a)(1)-(2).
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regulations that define statutory terms, including “firearm” and “frame or receiver.” However,

existing regulations are not permanent, inflexible rules designed to last indefinitely; instead, agencies

“are neither required nor supposed to regulate the present and future within the inflexible limits of

yesterday.” Am. Trucking Ass’n v. Atchison, Topeka, and Santa Fe Ry. Co., 387 U.S. 397, 416 (1967). The

question before the Court, then, is whether the definitions challenged by Plaintiffs comport with the

language of the statute. They do, for the reasons set forth below.

                1.      The Amended Definition of “Frame or Receiver”

        Plaintiffs argue that the Rule’s definition of “frame or receiver” was amended in excess of

ATF’s delegated authority because it improperly “reads into” the definition of “frame or receiver” the

term and concept of “readily” which is contained only in another portion of the statutory definition

of “firearm.”

        In so arguing, Plaintiffs essentially seek to insert a new adjective modifying “frame or receiver”

into the statute – such as “actual,” “complete,” “functional,” or “operable” – where none exists. See

Pls.’ Mem. at 8 (“Congress granted the ATF the limited authority to regulate . . . the actual complete or

functional receiver of such weapons.”). However, nothing in the statute expressly requires that a frame

or receiver be complete, or functional, to qualify as a “firearm” under 18 U.S.C. § 921(a)(3)(B).

Because the GCA did not define “frame or receiver,” Congress did not prescribe what “frame or

receiver” should encompass, and it fell upon ATF to define the term, which it has done for many

years. The crucial question left unresolved by the statute is at what point a mere component or

foundation of a component, such as a piece of metal or plastic—which is unregulated under federal

firearms law—becomes a “frame or receiver” that is so regulated. 6 The amended definition answers



6
  Indeed, even under the previous definition, ATF has long held the position that a component
need not be a complete or functional frame or receiver to constitute a “frame or receiver” within the
meaning of that term in the GCA, but determined that a component identifiable as a component of
a weapon became a “frame or receiver” once it reached a “critical stage of manufacture” at which it
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this important question. While Plaintiffs argue that the use of the term “readily” in the amended

definition of “frame or receiver” means ATF must have improperly transported that term from the

statutory definition of “firearm,” ATF’s use of the term “readily” incorporates a term that Congress

has used repeatedly in federal firearms laws—not only the GCA, but also elsewhere, see, e.g., 26 U.S.C.

§ 5845(b) (defining “machinegun” as “any weapon which shoots, is designed to shoot, or can readily

be restored to shoot, automatically…”). The Morehouse court considered an identical argument and

held that it “misses the mark” because “the Final Rule does not improperly use the statutory term

‘readily.’” Morehouse, 2022 WL 3597299, at *6.

        This amendment to the regulatory definition of “frame or receiver” ensures that the GCA and

NFA accomplish what Congress intended the statutes to do. Any other approach would result in

persons being able to easily circumvent the requirements of the GCA and NFA by producing or

purchasing almost-complete frames or receivers that could easily be altered to produce a functional

frame or receiver. This would thwart Congress’s purpose in enacting the GCA and NFA. See New

York v. Burger, 482 U.S. 691, 713 (1987) (“[T]he regulatory goals of the Gun Control Act . . . ensure[]

that weapons [are] distributed through regular channels and in a traceable manner,” thus making

“possible the prevention of sales to undesirable customers and the detection of the origin of particular

firearms.”). The clear Congressional intent, as indicated by the plain language and the statutory

scheme of the GCA, was to regulate—as a “firearm”—the frame or receiver of a weapon. By updating

the definition of “frame or receiver,” ATF has taken a reasonable approach that incorporates well-

known and oft-interpreted concepts such as the “may readily be completed, assembled, restored, or

otherwise converted” language into the definition. As the Morehouse court held in rejecting an identical

argument to that raised by Plaintiffs here, “adopting Plaintiffs’ position would appear to contradict



was “brought to a stage of completeness that will allow it to accept the firearm components for
which it is designed for [sic], using basic tools in a reasonable amount of time.” 87 Fed. Reg. 24,684.
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the plain language of the GCA, which clearly defined ‘firearms’ more broadly than a fully operational

weapon.” Morehouse, 2022 WL 3597299, at *6.

        Plaintiffs’ quotation of language from a prior government brief in the Syracuse case, Pls.’ Mem.

at 17, is inapposite to the issues before the Court. That case involved the prior definition of the term

“frame or receiver.” Given that the prior definition did not include the very language Plaintiffs are

challenging here, it is surely unsurprising that ATF’s position as to whether an unfinished frame or

receiver that could readily be converted to a functional frame or receiver was a “frame or receiver”

under 18 U.S.C. § 921(a)(3)(B) was different in the absence of language in the regulatory definition

directly addressing the situation. Now that the current definition does specifically define “frame or

receiver” as encompassing such unfinished components that may readily be converted to functional

frames or receivers, of course ATF’s position has evolved. 7

        It is not clear what relevance Plaintiffs’ inclusion of an illustrative photo example from an

ATF publication or its discussion of “frame or receiver parts kits” has to their argument that ATF

exceeded its statutory authority in amending the definition of “frame or receiver.” The top two

pictures, id. at 18, show AR receiver blanks without critical interior areas having been indexed,

machined, or formed. Under both the prior definition and the amended definition in the Rule, these

are not considered to be a “frame or receiver” unless they are sold with jigs, templates, equipment,

tools or other products or components that would make the receiver blank readily convertible to a

functional frame or receiver. See 87 Fed. Reg. at 24,739, 27 C.F.R. § 478.12(c), Ex. 4. The final picture

shows an AR receiver that has had the critical machining done so that it is a functional receiver. As

to the “frame or receiver parts kits,” Pls. Mem. at 18, quoting 87 Fed. Reg. at 24,739, many weapons


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  Similarly, Plaintiffs’ invocation of prior classification letters issued by ATF under the prior rule,
Pls.’ Mem. at 19, is irrelevant to whether the amended definition in the Rule is within ATF’s
delegated authority. Unsurprisingly, ATF classified certain products differently under the prior
definition of “frame or receiver” than it presumably will under the current amended definition. If
this were not the case, there would have been no point to amending the definition.
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have partially complete frames or receivers that are oftentimes sold in “kits.” But there is no separate

regulation or definition for the term – regardless of whether it is a single component or multiple

components, the inquiry under the amended definition is whether an item that is clearly identifiable

as a component part of a weapon can readily be converted to a functional frame or receiver. As the

Regulatory Impact Statement notes, a frame or receiver parts kit “is an aggregation of frame or receiver

parts that are designed to or may readily be converted to function as a frame or receiver . . . . Simply

put, . . . completing/assembling the parts in a ‘frame or receiver’ kit results in a functional frame or

receiver.” ATF, Regulatory Impact Analysis and Final Regulatory Flexibility Analysis 27 (2022),

available   at    https://www.atf.gov/firearms/docs/rulemaking/ria-final-rule-2021r-05f-definition-

frame-or-receiver-and-identification (last accessed August 29, 2022).

        Accordingly, including within the amended definition of “frame or receiver” a component

“that is designed to or may readily be completed, assembled, restored, or otherwise converted to

function as a frame or receiver” is within ATF’s well-established delegated authority. This amended

definition is consistent with the plain language of the statute and Congressional intent, and avoids an

absurd result of allowing individuals to easily circumvent federal firearms regulations by purchasing a

product that can easily be converted to the key component of a functional weapon without any of the

licensing, background checks, recordkeeping, or tracing requirements that apply to “firearms.”

                 2.     The Amended Definition of “Firearm”

        Plaintiffs next argue that ATF acted in excess of its statutory authority by including “weapons

parts kits” within the definition of “firearm.” Pls.’ Mem. at 19-21.

        As an initial matter, the idea that the GCA definition of “firearm” encompasses something

other than a completely assembled and functional weapon is not a novel idea set forth for the first

time in the Rule, but rather a longstanding and widely-held interpretation of the statute. Courts have




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long recognized that a disassembled weapon constitutes a “firearm” for purposes of the GCA.8

Plaintiffs essentially argue that this Court should add a new term—“complete” or “fully functional”—

to modify the word “weapon” in the statutory definition of “firearm.” But this would directly

contradict the statutory text, which states that a “firearm” is “any weapon (including a starter gun)

which will or is designed to or may readily be converted to expel a projectile by the action of an explosive…”

18 U.S.C. § 921(a)(3)(A) (emphasis added). The reference to a starter gun 9 and to weapons that are

merely “designed to” or “may readily be converted to” expel a projectile demonstrate a clear

Congressional intent for the term “firearm” to encompass more than just fully functional weapons.

Thus, the Rule’s definition of “firearm” to include “weapon parts kits” is consistent with statutory

text, Congressional intent, and courts’ longstanding interpretation of the GCA.

        Plaintiffs’ citation to language from the Government’s brief in California v. ATF, Pls.’ Mem. at

19-20, is a red herring. The language quoted simply states that individual firearm parts were not

considered “firearms” under the statute. Nothing in the Final Rule is to the contrary; rather, kits

consisting of enough component parts such that they may be readily converted to a functional weapon

are considered “firearms.” The Rule is clear that in order to be “readily” convertible to expel a

projectile, the conversion of a kit or aggregation of parts “must be fairly or reasonably efficient, quick,

and easy . . . after examining the enumerated factors” in the definition of “readily.” Id. That is

consistent with the plain language of the statute and the interpretation of the statutory definition by

numerous federal courts of appeals. It is therefore an appropriate interpretation of the regulatory


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  See, e.g., United States v. Wick, 697 F. App’x 507, 508 (9th Cir. 2017); United States v. Stewart, 451 F.3d
1071, 1073 n.2 (9th Cir. 2006): United States v. Annis, 446 F.3d 852, 857 (8th Cir. 2006); United States v.
Ryles, 988 F.2d 13, 16 (5th Cir. 1993); United States v. Theodoropoulous, 866 F.2d 587, 595 n.3d (3d Cir.
1989).
9
  A “starter gun” is a gun designed for use with “blank” ammunition. Congress was concerned at the
ease with which such a device could be converted to expel live ammunition, and cited in the GCA’s
legislative history the case of an individual who made bulk purchases of starter guns out of state and
“would then, at his residence, disassemble them, and . . . bore out the plugged barrel and enlarge the
cylinder chambers to accommodate .22-caliber cartridges.” See S. Rep. No. 88-1340, at 14 (1964).
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definition. Under Plaintiffs’ interpretation, a partially disassembled handgun that is missing one minor

part (for example, a screw or a firing pin) cannot and should not be considered a “firearm” under the

GCA and therefore may freely be sold commercially with none of the licensure, background-check,

marking, or record-keeping requirements that would attach to the repetitive sale of “firearms.”

Similarly, a disassembled rifle that could be reassembled in minutes could be freely sold by someone

without a federal firearms license. Nothing in the statute requires such an absurd result.

         Plaintiffs reveal a misunderstanding of the statute by asserting that the amended definition of

“firearm” to include “weapons kits” is improper because the only inquiry should be whether such

“weapons kits” have a frame or receiver.        The statutory definition of firearm is framed in the

disjunctive, meaning any of the four enumerated categories will constitute a firearm. 18 U.S.C.

§ 921(a)(3). In other words, a “firearm” can be either “(A) any weapon (including a starter gun) which

will or is designed to or may readily be converted to expel a projectile by the action of an explosive”

or “(B) the frame or receiver of any such weapon.” Id. But there is no statutory basis for concluding

that in order to be a “firearm” under § 921(a)(3)(A), a weapon parts kit must first be a “firearm” under

§ 921(a)(3)(B). 10 In fact, doing so would render § 921(a)(3)(A) superfluous and irrelevant, and the

Court should therefore reject this strained and illogical reading of the statute.

         As the Morehouse court held in rejecting an identical argument to that raised by Plaintiffs here,

“[t]he language from the Final Rule – ‘completed, assembled, restored, or otherwise converted,’ as

well as the weapons kits at issue – fit squarely within the GCA’s “firearm” definition because after



10
   Multiple courts have rejected the distinction Plaintiffs attempt to make even prior to the Rule.
Courts have held that disassembled weapons constitute “firearms” under the statute even if the frame
or receiver is incomplete or nonfunctional. In Wick, the receivers in question were “demilled” and
therefore not functional. 697 F. App’x at 508. In Stewart, the kits contained incomplete receivers that
required someone to cut out a portion of the receiver for it to become functional. 451 F.3d at 1072-
73. In both cases the court held that the weapon kits could easily be converted into a functional
weapon and should therefore be treated as a weapon, despite not containing a functional frame or
receiver.
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delivery, the kits are easily converted from mere parts into a weapon that expels a projectile.”

Morehouse, 2022 WL 3597299, at *5. Accordingly, the Rule’s amendment of the term “firearm” is

consistent with the statutory definition of that term and the purpose and intent of the GCA.

       B.      Incremental Amendments to Long-Standing Regulatory Definitions of
               Statutory Terms Do Not Implicate the Major Questions Doctrine

       Plaintiffs next argue that the Rule should be enjoined because it was issued in violation of the

“major questions doctrine,” as recently explained in the Supreme Court’s decision in West Virginia v.

United States Environmental Protection Agency, 142 S. Ct. 2587 (2022). Pls.’ Mem. at 21-24. However, the

amending of definitions of terms for which ATF has long provided regulatory definitions does not

meet the criteria for application of the “major questions doctrine.”

       The “major questions doctrine” only applies “in certain extraordinary cases” that involve

“decisions of vast economic and political significance,” assertions of “extravagant statutory power

over the national economy,” or assertions of “highly consequential power beyond what Congress

could reasonably be understood to have granted.” West Virginia, 142 S. Ct. at 2605, 2609. The ATF

actions challenged here fall well short of the kind of “extraordinary case[]” that the Supreme Court

has previously recognized as implicating the doctrine. For example, the Clean Power Plan at issue in

West Virginia involved a 10% energy rate hike, permanently shutting down many power plants, a $1

trillion loss to GDP, and a complete reorganization of American energy infrastructure. Id. at 2604.

Similarly, other cases in which the Supreme Court has held that the doctrine applies involved changing

the terms of 80% of American residential leases, Alabama Ass’n of Realtors v. HHS, 141 S. Ct. 2485

(2021), regulating the entire tobacco industry, FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120

(2000), imposing new emissions regulations on hotels, restaurants, and other small businesses, Utility

Air Regulatory Group v. EPA, 573 U.S. 302 (2014), and the Federal government unilaterally rescinding

physicians’ state-issued licenses to practice medicine, Gonzales v. Oregon, 546 U.S. 243 (2006). Here,

the challenged action impacts a comparatively much smaller set of manufacturers and sellers, any of
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whom could continue to sell any and all of the products at issue here freely by obtaining a federal

firearms license.

        In asserting that the major questions doctrine applies here, Plaintiffs neglect to mention the

various factors the Supreme Court typically looks to in determining whether the doctrine is

appropriate. Common factors in cases in which the Court has applied the major questions doctrine

typically involve a “novel” or “unprecedented” interpretation of statutory delegation involving

“ancillary” statutory provisions. See West Virginia, 142 S. Ct. at 2605 (“And that novel reading of the

statute would…”); 2610 (“It located that newfound power in the vague language of an ‘ancillary

provision’ of the Act…”); Alabama Ass’n of Realtors, 141 S. Ct. at 2489 (“This claim of expansive

authority . . . is unprecedented.”); Utility Air, 573 U.S. at 328 (“EPA asserts newfound authority…”);

FDA, 529 U.S. at 146 (“[S]ince the agency’s inception. . . . it never asserted authority to regulate

tobacco products as customarily marketed.”). Here, ATF has for decades used the primary delegation

of authority from Congress to provide regulatory definitions for a variety of statutory terms, including

“firearm” and “frame or receiver,” and here has simply amended those definitions to better serve the

statutory purposes. Nothing about this action entails a “novel” or “unprecedented” use of a previously

unused ancillary provision to expand the agency’s regulatory sphere like the cases in which the

Supreme Court has applied the major questions doctrine.

        The Supreme Court also typically looks to whether the challenged action is within the agency’s

traditional field of expertise, see West Virginia, 142 S. Ct. at 2612-13 (“When an agency has no

comparative expertise in making certain policy judgments, we have said, Congress presumably would

not task it with doing so.”); whether it intrudes on matters typically governed by state law, id. at 2606

(“little question” that states were harmed because regulatory action required that states “more

stringently regulate power plant emissions within their borders”), Alabama Ass’n of Realtors, 141 S. Ct.

at 2489 (“The moratorium intrudes into an area that is the particular domain of state law: the landlord-

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tenant relationship.”), Utility Air, 573 U.S. at 308 (“States have primary responsibility for implementing

the NAAQS….”); and whether Congress has expressly considered and rejected the measure in the

past, FDA, 529 U.S. at 159-60 (“Congress has . . . squarely rejected proposals to give the FDA

jurisdiction over tobacco”).

        Here, none of these indicia of a “major questions doctrine” case is present – the definition of

what is and is not a “firearm” or “frame or receiver” is squarely within the expertise of ATF, regulation

of firearms is traditionally primarily a matter of federal, not state, law. Nor has Congress considered

and rejected this regulatory definition. While Plaintiffs assert otherwise, Pls.’ Mem. at 24 (“The

content of bills rejected by Congress are now the content of the agency’s regulation.”), they cite to no

proposed legislation in support of this proposition. Nor could they. Plaintiffs are presumably

referring to the “Protecting Our Kids Act,” H.R. 7910, 117th Cong. (2022). Even assuming Congress

does not pass the law, inferring Congressional intent from silence or inaction is a dangerous canon of

statutory interpretation.   More importantly, however, that proposed legislation goes far beyond

anything in the Rule, essentially seeking to effect a complete ban on privately made firearms, which,

as discussed above, the Rule here simply does not do. It is reasonable to speculate that lawmakers

may feel differently about the incremental amendments to definitions contained in the Rule and a

complete ban on privately made firearms, so the fact that Congress has chosen not to effect a complete

ban has no bearing on whether Congress would view the Rule as being within ATF’s delegated

authority.

        Instead, this case is much closer in all material ways to the Supreme Court’s recent decision in

Biden v. Missouri, 142 S. Ct. 647 (2022). That decision upheld an HHS rule that established a COVID-

19 vaccination requirement for approximately 10.4 million healthcare workers at facilities accepting

federal Medicare or Medicaid funds. See Medicare and Medicaid Programs, Omnibus COVID-19

Health Care Staff Vaccination, 86 Fed. Reg. 61,555 (Nov. 5, 2021). The rule was invalidated by lower

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courts, including the Fifth Circuit, see Louisiana v. Becerra, 20 F.4th 260, 262 (5th Cir. 2021) (per curiam),

under the major questions doctrine. However, the Supreme Court held that, even though the rule was

to have total annual costs of approximately $1.38 billion, 86 Fed. Reg. at 61,602, 61,609, and went

further than any condition HHS had previously placed on funding for the purpose of infection control,

Missouri, 142 S. Ct. at 653, it was not a major questions doctrine case. The delegations of authority at

issue in Missouri were general and made no specific mention of vaccination, stating that the Secretary

could issue regulations “as may be necessary to the efficient administration of the functions with which

[he] is charged,” 42 U.S.C. § 1302(a), and allowing the Secretary to impose conditions on the receipt

of funds that “the Secretary finds necessary in the interest of the health and safety of individuals who

are furnished services,” 42 U.S.C. § 1395x(e)(9). That is similar to the general “necessary” delegation

of authority to ATF contained in 18 U.S.C. § 926(a) at issue here. The Court further noted that the

rule was issued to prevent infections, a subject matter area traditionally within HHS’s area of expertise,

Missouri, 142 S. Ct. at 653, and that placing conditions on the acceptance of Medicare and Medicaid

funds was consistent with HHS’s “longstanding practice,” id. at 652. Similarly, here, ATF has long

made determinations and issued definitions regarding what is and is not a firearm and frame or

receiver, and the amended definitions contained in the Rule are consistent with ATF’s expertise and

longstanding practice.

        Accordingly, because the actions challenged by Plaintiffs were incremental updates to

definitions for which ATF has long provided definitions pursuant to its authority delegated by

Congress, and this subject matter is within ATF’s field of knowledge and consistent with longstanding

practice, the major questions doctrine does not apply here.

        C.      There Is No Need to Determine Whether Chevron Deference Applies Here.

        Although Plaintiffs argue that the Rule is not entitled to deference under Chevron, U.S.A. v.

Natural Resources Defense Council, Inc., 467 U.S. 837 (1984), see Pls.’ Mem. at 24-27, there is no need to

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reach this question because the Rule reflects the best statutory interpretation. It is unnecessary to

consider deference when an agency rule adopts “not only a reasonable [position], but the position that

[the Court] would adopt even if there were no formal rule and [the Court] were interpreting the statute

from scratch.” Edelman v. Lynchburg Coll., 535 U.S. 106, 114 (2002); see also Becerra v. Empire Health

Found., 142 S. Ct. 2354, 2362 (2022) (agency’s “regulation correctly construes the statutory language at

issue” because, inter alia, “[t]he provisions are technical” and “[t]he text and context support the

agency’s reading”). Alternatively, if a rule does not reflect this position, the Court should “consider

the agency’s interpretation to the extent it is persuasive.” United States v. Garcia, 707 F. App’x 231, 234

n.5 (5th Cir. 2017) (citing Baylor Cnty. Hosp. Dist. v. Price, 850 F.3d 257, 261 (5th Cir. 2017)).

        Under either standard, ATF acted within its statutory authority in promulgating the Rule.

Plaintiffs incorrectly contend that the Rule’s definition of “frame or receiver” is invalid because it

improperly uses the term “readily” from the statutory definition of “firearm.” Pls.’ Mem. at 24-25.

However, “readily” is a widely used word and concept in federal firearms laws and regulations, and

the Rule “does not improperly use the statutory term ‘readily’” in the amended definition of “frame

or receiver.” Morehouse, 2022 WL 3597299, at *6. “[T]he GCA does not define the term ‘frame or

receiver,’ which leaves the regulation of what constitutes a frame or receiver to the discretion of the

ATF.” Id. And the crucial question is at what point a mere component or foundation of a component,

such as a piece of metal or plastic—which is unregulated under federal firearms law—becomes a

“frame or receiver” that is so regulated. The clear Congressional intent, as indicated by the plain

language and the statutory scheme of the GCA, was to regulate—as a “firearm”—the frame or receiver

of a weapon. By updating the definition of “frame or receiver,” ATF has taken a reasonable approach

that incorporates into the definition well-known and oft-interpreted concepts such as the “may readily

be completed, assembled, restored, or otherwise converted” language.




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        Because the GCA did not define “frame or receiver,” Congress did not prescribe what “frame

or receiver” should encompass. ATF’s use of the term “readily” incorporates a term that Congress

used repeatedly in federal firearms laws—not only the GCA, but also elsewhere, see, e.g., 26 U.S.C.

§ 5845(b) (defining “machinegun” as “any weapon that shoots, is designed to shoot, or can be readily

restored to shoot, automatically…”) (emphasis added)—so that the regulatory definition of “frame or

receiver” actually accomplishes what Congress intended it to do. Any other approach would result in

persons being able to easily circumvent the requirements of the GCA and NFA by producing or

purchasing almost-complete frames or receivers that could easily be altered to produce a functional

frame or receiver. As explained above, see supra I.A.1, this would be contrary to Congress’s purpose

in enacting the GCA and NFA. See Burger, 482 U.S. at 713.

        Moreover, the mere fact that Congress included the phrase “may readily be converted” in one

sub-provision of the GCA (generally defining “firearm”) does not mean that it excluded the possibility

that ATF could use the words “readily” and “converted” in interpreting another sub-provision

(expressly including a firearm’s “the frame or receiver” within the definition of “firearm”). See, e.g.,

Clinchfield Coal Co. v. Fed. Mine Safety & Health Rev. Comm’n, 895 F.2d 773, 779 (D.C. Cir. 1990)

(explaining that “[t]he difficulty with” the argument that “explicit direction for something in one

provision, and its absence in a parallel provision, implies an intent to negate it in the second context”

is that “it disregards several other plausible explanations for an omission”); Creekstone Farms Premium

Beef, LLC v. U.S. Dep’t of Agric., 539 F.3d 492, 500 (D.C. Cir. 2008) (holding that when a statute

“contains broad language authorizing the agency to promulgate regulations necessary to ‘carry out’ the

statute,” the negative-implication canon “has minimal, if any, application”).

        Plaintiffs also misplace their reliance on the rule of lenity, see Pls.’ Mem. at 25, which “only

applies if, after considering the text, structure, history, and purpose, there remains a grievous ambiguity

or uncertainty in the statute, such that the court must simply guess as to what Congress intended.”

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United States v. Suchowolski, 838 F.3d 530, 534 (5th Cir. 2016) (citation omitted). That is not this case.

Plaintiffs have established no “grievous ambiguity or uncertainty” here, and the rule of lenity therefore

does not apply. See also Muscarello v. United States, 524 U.S. 125, 138-39 (1998) (“The simple existence

of some statutory ambiguity, however, is not sufficient to warrant application of that rule, for most

statutes are ambiguous to some degree.”). 11

         Nor, contrary to Plaintiffs’ contention, does the Rule’s term “complete weapon” create

enforcement uncertainty. Pls.’ Mem. at 25-27. Initially, Plaintiffs’ argument depends largely on a

hypothetical scenario in which two disassembled firearms “could theoretically create a new

combination.” Id. at 27 (emphasis added). But “hypothetical examples” are “irrelevant to facial

challenges,” Ass’n of Priv. Sector Colls. & Univs. v. Duncan, 110 F. Supp. 3d 176, 196 (D.D.C. 2015), aff’d,

640 F. App’x 5 (D.C. Cir. 2016), because it is Plaintiffs’ burden to establish that no set of circumstances

exists under which the Rule would be valid, see supra Legal Standards, and not Defendants’ burden to

support the Rule’s application as applied to hypothetical circumstances. In any event, the term

“complete weapon” does not create enforcement uncertainty. The Rule uses this term simply to

“explain when a frame or receiver of a firearm . . . must be marked for identification” by the licensed

manufacturer that produces it. 87 Fed. Reg. at 24,664. The Rule thus defines this term to mean a

“firearm” that contains all component parts necessary to function. Id. at 24,734. And because the

Rule’s definition of “complete weapon” expressly incorporates the term “firearm,” that definition

assumes that there is already an article defined as a “firearm” before it can be a “complete weapon.”




11
   Moreover, ATF regulations like the Rule do not have criminal penalties attached to them (although
they can be used to support seizure and forfeiture under 18 U.S.C. § 924(d)). The Rule is primarily
directed at licensing, not criminal applications. It only implicates criminal penalties to the extent that
a court in a criminal case may need to look to the Rule’s definition of “frame or receiver” to understand
the meaning of that term. The Rule does not create any new criminal law, but simply clarifies that
weapon parts kits and ready-to-complete frames and receivers are subject to the same rules as fully
complete and assembled firearms.
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In sum, the Rule’s definition of “complete weapon” has no consequences for law-abiding firearm

owners, but is simply intended to inform licensed manufacturers when a firearm frame or receiver

should be marked for identification. 12

         D.      The Rule Is a Logical Outgrowth of the Notice.

         The Rule is a logical outgrowth of the Notice. Contra Pls.’ Mem. at 28-29. A notice of

proposed rulemaking is “not required to specifically identify every precise proposal which the agency

might ultimately adopt” but instead “satisfie[s] the requisite standard by fairly apprising interested

persons of the subjects and issues the agency was considering.” Huawei Techs. USA, Inc. v. FCC, 2

F.4th 421, 448 (5th Cir. 2021); see also ConocoPhillips Co. v. U.S. EPA, 612 F.3d 822, 834 (5th Cir. 2010)

(noting that “courts must proceed with caution before deeming a Final Rule too attenuated from the

Proposed Rule”).

         As Morehouse held in rejecting a similar challenge, the Rule satisfies this standard with respect

to ATF’s regulatory definition of “frame or receiver.” The Notice “expressly stated [] ATF’s intent

to update and modernize the definition of ‘frame or receiver’ because ‘most firearms currently in

circulation in the United States do not have a specific part that expressly falls within the current frame

or receiver regulatory definitions.’” Morehouse, 2022 WL 3597299, at *4 (quoting 86 Fed. Reg. at

27,727). In the Notice, “ATF started with a broad definition of ‘frame or receiver,’” id., to mean a

firearm part “that provides housing or a structure designed to hold or integrate any fire control

component.” 86 Fed. Reg. at 27,727 (emphasis added). In turn, “fire control component” was also

defined broadly as “a component necessary for the firearm to initiate, complete, or continue the firing



12
  Moreover, contrary to Plaintiffs’ contention, see Pls.’ Mem. at 27 n.26, ATF specifically responded
to comments arguing that “the application of the definition of ‘firearm’ to unassembled weapons
creates enforcement uncertainty” by clarifying that the purpose of the term “complete weapon” was
“to explain when the frame or receiver of a weapon in the process of being manufactured must be
identified and recorded.” 87 Fed. Reg. at 24,700; see also id. at 24,700-01 (providing additional
explanation).
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sequence, including” such different types of components as a “[h]ammer, bolt, bolt carrier,

breechblock, cylinder, trigger mechanism, firing pin, striker, or slide rails.” Id. at 27,741; see also id. at

27,727. “And after reviewing and considering the over 290,000 comments offered by the public, . . .

ATF narrowed its definition of ‘frame and receiver.’” Morehouse, 2022 WL 3597299, at *4. The Rule

defines “frame” as the part of a handgun that provides housing for the component designed to hold

back the hammer, striker, bolt, or similar primary energized component before the firing sequence is

initiated. See 87 Fed. Reg. at 24,735. This component—also known as the “sear”—is clearly a “fire

control component,” as the Notice proposed to define that latter term, because the sear is necessary

for the handgun to complete the firing sequence. 13 See 86 Fed. Reg. at 27,727. Similarly, the Rule

defines “receiver” as the part of a long gun or other projectile weapon that provides housing for the

primary component designed to block or seal the breech before the firing sequence is initiated. 87

Fed. Reg. at 24,735. This component—known as the bolt or breechblock—is a “fire control

component” under the Notice’s proposed definition because it is necessary to “complete[] or continue

the firing sequence;” indeed, the Notice’s nonexclusive list of “fire control components” included a

“bolt” and a “breechblock.” 86 Fed. Reg. at 27,741; see also id. at 27,727. The Notice thus made clear

ATF’s proposal to include in its updated definition of “frame or receiver” any firearm part that

provides housing for any fire control component. 14 In turn, the Rule defined a “frame” or “receiver”

more narrowly to mean only a subset of this broad category. The housings identified in the Rule were

thus included in the Notice’s proposed definition of “frame or receiver.” And “variant,” as defined

13
   When a handgun’s sear is released, it causes the hammer or striker to hit the primer on the cartridge
in the chamber, which completes the handgun’s firing sequence. In an automatic weapon, the sear is
also necessary to continue the firing sequence. Further, after a long gun’s firing cycle has been
initiated, a bolt or breechblock (or variant thereof) is necessary to seal gases in the chamber to prevent
the gases from escaping other than through the barrel. Thus, the bolt or breechblock is necessary to
complete or continue the long gun’s firing sequence.
14
   Both the proposed rule and the Rule also expressly stated that the proposed definition of “frame
or receiver” would not have been limited to those particular fire control components. 86 Fed. Reg.
27,727 & n.46; 87 Fed. Reg. 24,662 & n.45.
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by the Rule, simply means a weapon utilizing a similar frame or receiver design irrespective of such

features as new or different model designations or configurations. 87 Fed. Reg. at 24,735. “It is

difficult to conclude, under these facts, that the [Rule] is not a ‘logical outgrowth’ of the [Notice].

Indeed, this appears to present a rather textbook example of how the administrative rulemaking

process must proceed under the APA.” Morehouse, 2022 WL 3597299, at *4. Because the Notice

“specifically requested comments on the feasibility of implementing the [proposed] definition of

firearm ‘frame or receiver,’” 86 Fed. Reg. at 27,740, the “possibility” that the agency might adopt a

more limited approach than the proposed definition was “reasonably foreseeable,” Long Island Care at

Home, Ltd. v. Coke, 551 U.S. 158, 175 (2007); see also id. at 174-75 (final rule exempting entire category

of workers from coverage under statute was logical outgrowth of proposed rule exempting only subset

of that category); Ariz. Pub. Serv. Co. v. EPA, 211 F.3d 1280, 1299-1300 (D.C. Cir. 2000).

        Further, the Notice included several “nonexclusive examples that illustrate th[e] definition[]”

of a frame or receiver, and a “nonexclusive list” of grandfathered frames and receivers. 86 Fed. Reg.

at 27,741-46. The Rule includes different “nonexclusive examples” to illustrate the definitions of

“frame” and “receiver” and to illustrate when a partially complete frame or receiver is considered a

“frame or receiver,” 87 Fed. Reg. at 24,735-39, and a different “nonexclusive list” of grandfathered

frames and receivers, id. at 24,739-41. But these illustrative examples in the Rule are just that:

illustrative examples reflecting sample applications of concepts that were either announced in the

Notice or are a logical outgrowth of such concepts made in response to comments. See 86 Fed. Reg.

at 27,729 (announcing intent to define “frame or receiver” as including, “in the case of a frame or

receiver that is partially complete, disassembled, or inoperable, a frame or receiver that has reached a

stage in manufacture where it may readily be completed, assembled, converted, or restored to a

functional state”). Notably, Plaintiffs fail to cite any authority suggesting that an agency violates

principles of fair notice merely by using different illustrative examples than in a proposed rule.

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       The Rule’s treatment of “multi-piece receiver[s],” “privately made firearms,” and the word

“primordial” are also logical outgrowths of the Notice. The Notice made clear that its regulation of

frames and receivers would include multi-piece frames or receivers, i.e., frames or receivers that may

be disassembled into multiple standard units that can be replaced or exchanged. Compare 86 Fed. Reg.

at 27,736 (proposed rule’s regulatory “definitions account for firearms such as split frames or multi-

piece firearms”) with 87 Fed. Reg. at 24,739 (defining “multi-piece frame or receiver” as one type of

frame or receiver); see also 86 Fed. Reg. at 27,721-22, 27,729 (repeatedly discussing concept of

“split/multi-piece receiver” firearms). The Notice defined “[p]rivately made firearm,” and the Rule

adopted that definition with few changes. Compare 86 Fed. Reg. at 27,746-47 with 87 Fed. Reg. at

24,735. The Rule’s provision entitled “privately made firearms marked by nonlicenseees” defines no

terms; it merely states that licensees may adopt a unique identification number previously placed on a

PMF by a non-licensee. 87 Fed. Reg. at 24,743. Finally, the Notice included the concept of

“primordial,” stating that “articles only in a primordial state would not—without more—be

considered a ‘partially complete’ frame or receiver,” 86 Fed. Reg. at 27,729, and the Rule defined that

word using a dictionary definition. See 87 Fed. Reg. at 24,663 n.49 (citing Oxford English Dictionary).

       “In most cases, if the agency alters its course in response to the comments it receives, little

purpose would be served by a second round of comment.” Ariz. Pub. Serv. Co., 211 F.3d at 1299.

That is true here also. “Here, the Plaintiffs had an opportunity to offer comments on the proposed

definitions,” and “allowing Plaintiffs a new round of notice and comment would serve little purpose.”

Morehouse, 2022 WL 3597299, at *4. “Without question, the [Notice] was sufficiently descriptive that

. . . ATF was going to redefine ‘frame or receiver,’” as well as define PMF and regulate multi-piece

receivers, “and it allowed interested parties to offer informed criticism and comment.” Id. Notably,

Plaintiffs fail to mention any comments they were allegedly prevented from submitting, much less any

concrete harm traceable to any changes they cite. Because the proposed rule “fairly appris[ed]

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interested persons of the subjects and issues the agency [was] considering,” the Rule is a logical

outgrowth of the Notice. Huawei Techs. USA, 2 F.4th at 448.

        E.      The Rule Adequately Explains Changes in ATF Policy.

        Plaintiffs’ argument that “the Final Rule represents a drastic change in the agencies’ position

without adequate explanation” also is unlikely to succeed. Pls.’ Mem. at 29 (capitalization altered).

“An agency’s change in policy is not subjected to a heightened standard or more substantial review

than the scrutiny applicable to policy drafted on a blank slate.” Handley v. Chapman, 587 F.3d 273, 282

(5th Cir. 2009) (citing FCC v. Fox Television Stations, 556 U.S. 502, 514-16 (2009)). “Rather, a policy

change must only meet three requirements: The new policy must be permissible under the statute;

there must be good reasons for it; and the agency must believe that the new policy is better, which the

conscious change of course adequately indicates.” Id. (citation omitted); accord Entergy Miss., Inc. v.

NLRB, 810 F.3d 287, 293 (5th Cir. 2015).

        In a series of abbreviated arguments, Plaintiffs appear to suggest that ATF did not adequately

explain policy changes relating to: receiver blanks that have not yet reached the critical stage of

manufacture, see Pls.’ Mem. at 30-31; individual firearm parts, see id. at 31; and split-frame or striker-

fired firearms, see id. at 31-33. As to each product category, however, the Rule either does not change

ATF’s policy or adequately explains the reasons for any change.

        With respect to unfinished receivers, the Rule continues ATF’s existing policy that a firearm

component becomes a frame or receiver when it reaches a “critical stage of manufacture.” See supra

n.6. Thus, ATF has always classified “some unfinished receivers [as] firearms because of the ease with

which they can be made functional”—a standard which “is largely determined by which machining

operations still needed to be performed.” 87 Fed. Reg. at 24,668. Indeed, Plaintiffs point to an ATF

webpage illustrating that a receiver with only a “partially machined fire-control cavity” was classified

as a firearm under ATF’s prior regulations, although it could not function as a receiver in its existing

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form. See ATF, Are “80%” or “unfinished” receivers illegal?, ATF, https://www.atf.gov/firearms/qa/are-

%E2%80%9C80%E2%80%9D-or-%E2%80%9Cunfinished%E2%80%9D-receivers-illegal;                              Pls.’

Mem. at 30. It likewise remains true that “a partially complete frame or receiver alone is not a frame

or receiver if it still requires performance of certain machining operations.” 87 Fed. Reg. at 24,668.

Accordingly, under the Rule, “[c]ompanies that sell or distribute only unfinished frame or receiver

billets or blanks, and not any associated jigs, templates, or similar tools to the same customer are not

required to be licensed or to mark those articles with identifying information.” Id. at 24,700. 15

         The only relevant policy change concerns ATF’s consideration of jigs, templates, instructions,

equipment, or tools that are sold alongside a partially-complete frame or receiver to determine whether

that clearly-identifiable component has reached the “critical stage of manufacture.” 87 Fed. Reg. at

24,678. Plaintiffs do not argue that this change was inadequately supported. In any event, the change

meets all three requirements under FCC v. Fox; it is consistent with the GCA, which vests ATF with

the discretion to define the statutory term “frame or receiver,” see supra Argument I.a.1; ATF explained

the reason for the change; and ATF acknowledged that it was changing position. As for the reason

for the change, ATF has long maintained that that an incomplete frame or receiver is a “frame or

receiver” for purposes of the GCA when it is sold “indexed,” or marked with the locations for drilling

or milling the holes or cavities in which to install the fire control components necessary to initiate,

complete, or continue the firing cycle. See 87 Fed. Reg. at 24,668. Prior to the Rule, however, ATF

did not examine templates, jigs, or other items and materials sold alongside a partially complete frame

or receiver. See id. Because “the aggregation of a template or jig with a partially complete frame or




15
   Receiver “blanks” are receivers with completely solid, un-machined, un-indexed fire-control
cavities, such as the first two examples on the ATF webpage that Plaintiffs cite. See ATF, Are “80%”
or “unfinished” receivers illegal?, https://www.atf.gov/firearms/qa/are-%E2%80%9C80%E2%80%9D-
or-%E2%80%9Cunfinished%E2%80%9D-receivers-illegal.
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receiver can serve the same purpose as indexing,” the Rule now requires consideration of such

materials. Id. The change thus increases the consistency and accuracy of ATF’s classifications. See id.

        The Rule also does not reflect an unexplained change in ATF’s policy with respect to individual

firearm parts or complete weapon parts kits, contrary to Plaintiffs’ suggestion. See Pls.’ Mem. at 31.

As the ATF court filing that Plaintiffs cite reflects, ATF generally does not regulate individual firearm

parts, with the exception of frames and receivers, and parts of machineguns and silencers. That

remains true under the Rule. By contrast, ATF always has recognized that a complete weapon parts

kit, standing alone, falls within the GCA’s statutory definition of a “firearm,” because it “may readily

be converted to expel a projectile by the action of an explosive.” 18 U.S.C. § 921(a)(3)(A); see 87 Fed.

Reg. at 24,662 & n.44, 24,692; 86 Fed. Reg. at 27,726 & nn.39-40 (citing case law confirming this

interpretation). The Rule merely adds express language confirming and codifying this interpretation.

See 87 Fed. Reg. at 24,662, 24,692. To the extent that ATF was required to explain this codification

of existing policy, its explanation—which relied on both case law and the plain meaning of the

statutory text—was adequate. See id. at 24,684.

        Likewise, ATF did not change its position regarding firearms with split frames or receivers or

striker-fired firearms, but rather codified its existing policy in the face of court decisions

misinterpreting prior regulations. Contra Pls.’ Mem. at 31-33. ATF has long regarded its prior

regulatory definition of a firearm “frame or receiver” as non-exhaustive, and has maintained that split-

receiver firearms “should be examined with a view toward determining if either the upper or lower

half of the receiver more nearly fits the legal definition of ‘receiver,’ and more specifically, for

machineguns, whether the upper or lower portion has the ability to accept machinegun parts.” 87

Fed. Reg. at 24,655 (internal quotation marks and brackets omitted). By contrast, certain courts

recently have interpreted ATF’s prior regulatory definition of “frame or receiver” as exhaustive—an

“erroneous” interpretation, in ATF’s view. See 86 Fed. Reg. at 27,722, 27,727. ATF noted that such

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a restrictive interpretation of its prior regulation would create the anomalous result that “as many as

90 percent of all firearms (i.e., with split frames or receivers, or striker-fired) in the United States would

not have any frame or receiver subject to regulation,” which would plainly contradict the statutory

scheme, as determined by its plain text. 87 Fed. Reg. at 24,652; 86 Fed. Reg. at 27,722. To address

this problem, the Rule amends its regulatory definition of “frame or receiver” to expressly cover the

single component best classified as the frame or receiver of particular categories of split-receiver

firearms, as well as the frame or receiver of striker-fired firearms. 87 Fed. Reg. at 24,652-53, 24,695. 16

         Plaintiffs appear to suggest that this amendment is inadequately explained because, according

to Plaintiffs, the technology for split-receiver and striker-fired civilian firearms was already available

when ATF promulgated its prior regulatory definition of “frame or receiver.” See Pls.’ Mem. at 32-33.

But ATF never suggested otherwise; rather, it observed that split-receiver and striker-fired firearms

were less commonly used by the civilian population approximately fifty years ago, when ATF

promulgated its prior regulation, than they are today. See, e.g., 87 Fed. Reg. at 24,654-55, 24,683 n.88.

Plaintiffs’ assertions do not negate that observation. Moreover, ATF’s explanation for the change did

not depend solely or even primarily on the relative prevalence of such firearms over the past fifty

years, but rather on the incongruity with an interpretation of a regulatory definition under which the

vast majority of weapons in circulation today have no frame or receiver whatsoever.

         Finally, Plaintiffs are wrong to suggest that the Rule “ha[s] cast decades of classification

determinations, arguments, and guidelines into the wind.” Pls.’ Mem. at 31. Rather, the Rule expressly

grandfathers its prior classifications of the frame or receiver of existing split frame or receiver firearm

designs, including AR-15 and M-16 variants. 87 Fed. Reg. at 24,653. “The only exception to



16
  Notably, one of the courts that adopted this restrictive interpretation noted its view that ATF had
not only the “authority,” but also the “duty,” to update its regulations to expressly cover split-
receiver firearms, such as AR-15-style rifles. United States v. Rowold, 429 F. Supp. 3d 469, 476 (N.D.
Ohio 2019).
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‘grandfathering’” is for partially complete, disassembled, or nonfunctional frames or receivers that

ATF previously did not classify as firearms. Id. ATF explained the basis for this exception, namely

that it may not have considered accompanying parts, jigs, templates, or other information that is

relevant to classification under the new Rule, as noted above. Id. at 24,673.

II.      Plaintiff Has Not Shown That It Will Incur Irreparable Harm Absent a Preliminary
         Injunction.

         A.      Plaintiffs’ Delay in Seeking Relief Shows the Lack of Irreparable Harm.

         Plaintiffs’ delay in seeking preliminary relief weighs heavily against their assertion that they

would suffer irreparable harm absent a preliminary injunction. “[D]elay in seeking a remedy is an

important factor bearing on the need for a preliminary injunction. Absent a good explanation, a

substantial period of delay militates against the issuance of a preliminary injunction by demonstrating

that there is no apparent urgency to the request for injunctive relief.” Anyadike v. Vernon Coll., No.

7:15-cv-00157-O, 2015 WL 12964684, at *3 (N.D. Tex. Nov. 20, 2015) (quoting Wireless Agents, LLC

v. T-Mobile, USA, Inc., No. 3:05-CV-0094D, 2006 WL 1540587, at *3 (N.D. Tex. June 6, 2006)).

“[C]ourts generally consider anywhere from a three-month delay to a six-month delay enough to

militate against issuing injunctive relief.” Leaf Trading Cards, LLC v. Upper Deck Co., No. 3:17-cv-3200-

N, 2019 WL 7882552, at *2 (N.D. Tex. Sept. 18, 2019) (collecting cases). 17

         Here, ATF announced the Rule on April 11, 2022 and published it in the Federal Register on

17
   See also, e.g., Anyadike, 2016 WL 12964684, at *3 (“several-month delay in filing . . . militates against
a finding of irreparable harm”); H.D. Vest, Inc. v. H.D. Vest Mgmt. & Servs., LLC, No. 3:09-CV-00390-
L, 2009 WL 1766095, at *4 (N.D. Tex. June 23, 2009) (delay of almost five months undercut assertion
of irreparable harm); Pals Grp., Inc. v. Quiskeya Trading Corp., No. 16-23905-CIV-GOODMAN, 2017
WL 532299, at *6 (S.D. Fla. Feb. 9, 2017) (three-month delay “is by itself sufficient grounds to deny
its request for an injunction”); Seiko Kabushiki Kaisha v. Swiss Watch Int’l, Inc., 188 F. Supp. 2d 1350,
1356 (S.D. Fla. 2002) (finding that a “three-month delay . . . undercuts any sense of urgency”); Comic
Strip, Inc. v. Fox Television Stations, Inc., 710 F. Supp. 976, 981 (S.D.N.Y. 1989) (“three month delay”);
Millennium Funding, Inc. v. 1701 Mgmt. LLC, No. 21-cv-20862-bloom/Otazo-Reyes, 2021 WL 3618227,
at *10 (S.D. Fla. Aug. 16, 2021) (“it is not uncommon for courts to deny a preliminary injunction in
the face of unexplained delays of more than two months”) (collecting cases); Blue-Grace Logistics LLC
v. Fahey, 340 F.R.D. 460, 467 (M.D. Fla. 2022) (same).
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April 26, 2022, with an effective date of August 24, 2022. But Plaintiffs waited four months and did

not seek a preliminary injunction until August 17, 2022, a week before the effective date. This

“[u]ndue delay in seeking a preliminary injunction tends to negate the contention that the feared harm

will truly be irreparable.” Embarcadero Techs., Inc. v. Redgate Software, Inc., No. 1:17-cv-444-RP, 2017 WL

5588190, at *3 (W.D. Tex. Nov. 20, 2017). If the Rule actually threatened irreparable harm to

Plaintiffs, they would not have waited 113 out of the 120 days before the Rule took effect before

seeking preliminary relief. See Golden Cheek Ventures, L.P. v. Brazos Elec. Power Coop., Inc., No. 4:15-cv-

0821-O, 2015 WL 13469994, at *2 (N.D. Tex. Nov. 10, 2015) (“Golden Cheek’s delay in filing until

just six days before construction is set to begin not only limits the Court’s ability to analyze Plaintiff’s

claims, it militates against a finding of irreparable harm.”). Nor can Plaintiffs contend it was

impossible to seek relief sooner: the plaintiff in the parallel Southern District of Texas case filed suit

less than two weeks after the Rule was issued and moved for preliminary injunctive relief more than

two months before Plaintiffs did. See Div. 80 LLC v. Garland, No. 3:22-cv-00148 (S.D. Tex.), Docs. 1

(Compl., May 9, 2022), 11 (Emerg. Mot. for Prelim. Inj., June 6, 2022).

        In Morehouse, the Court found that the plaintiffs’ delay of “essentially three months” in waiting

until July 25, 2022, to move for a preliminary injunction to challenge the Rule “gives the Court serious

pause” and “tends to weigh against a finding of irreparable harm.” Morehouse, 2022 WL 3597299, at

*12. Here, Plaintiffs’ delay until August 17, 2022, is even more egregious, and similarly weighs against

a finding of irreparable harm.

        B.      Plaintiffs Fail to Substantiate Any Imminent Threat of Irreparable Injury.

        “[A]ny irreparable harm must be imminent for a preliminary injunction to issue.” Mueller

Supply Co. v. JNL Steel Components, Inc., No. 6:21-CV-036-H, 2022 WL 1199212, at *15 (N.D. Tex. Mar.

8, 2022). “Speculative injury is not sufficient” for a preliminary injunction. Holland Am. Ins. Co. v.

Succession of Roy, 777 F.2d 992, 997 (5th Cir. 1985).

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         Plaintiffs have failed to demonstrate imminent irreparable harm. Plaintiffs’ primary argument

is that the Rule will drive Tactical Machining out of business because Tactical Machining will have to

cease sales of products that the Rule classifies as firearms, which comprise more than 90% of Tactical

Machining’s sales. See Mem. 34-35; Peters Decl. ¶¶ 11, 15. The flaw in this argument is that the Rule

does not prohibit Tactical Machining from selling such products; it merely requires Tactical Machining

to become a federal firearms licensee and comply with regulatory requirements such as keeping

transaction records and marking firearms with serial numbers. Tactical Machining does not argue that

it could not obtain a license and comply with these requirements. The cost of a federal firearms license

is $50 per year for manufacturers and $200 for three years ($90 for a three-year renewal) for dealers.

18 U.S.C. § 923(a)(1)(B), (a)(3)(B). There are more than 52,000 federally licensed firearms dealers and

18,000 federal licensed firearms manufacturers (excluding dealers and manufacturers of destructive

devices), and nearly 5,000 dealers and more than 2,000 manufacturers in Texas alone, all of whom are

able to bear such burdens. 18 The court in Division 80 correctly rejected the plea of another seller of

partially completed receivers that the Rule would force it out of business, concluding, “he does have

a choice—he can get a license.” Div. 80, 2022 WL 3648454, at *3. Any harm that results from Tactical

Machining’s choice not to obtain a federal firearms license is therefore “self-inflicted” and “do[es] not

count” as irreparable harm. Texas v. Biden, 10 F.4th 538, 558 (5th Cir. 2021); see also Div. 80, 2022 WL

3648454, at *5 (“[A] party may not satisfy the irreparable harm requirement if the harm complained

of is self-inflicted.”). 19



18
   ATF, Federal Firearms Listings, https://www.atf.gov/firearms/listing-federal-firearms-licensees (last
accessed Aug. 26, 2022).
19
   Tactical Machining states that a freight company and credit card processing company have expressed
reluctance or unwillingness to do business with Tactical Machining if it violates the Rule by selling
products that the Rule classifies as firearms without obtaining a license. See Peters Decl. ¶¶ 12-13.
But Tactical Machining provides no evidence that it would have any trouble obtaining freight or
processing services if it obtained a federal firearms license and complied with the Rule. In any event,
any alleged harm under this rubric would be “the result of the independent action of some third party
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        Plaintiffs also argue that any compliance costs constitute irreparable harm because the federal

government enjoys sovereign immunity from monetary damages. Pls.’ Mem. at 35-36. But while

extraordinary compliance costs that severely burden a business’s operations may show irreparable

harm, courts do not hold that modest and ordinary compliance costs constitute irreparable harm. For

example, in one case cited by Plaintiffs, Texas v. U.S. EPA, 829 F.3d 405 (5th Cir. 2016), the Court

found that the “tremendous costs” of “$2 billion” for power companies to comply with an

environmental regulation sufficed for irreparable harm where the regulation required the construction

of emission control systems that would “take several years to install” and would “endanger the

reliability of power.” Id. at 433-34. In Wages & White Lion Investors, LLC v. FDA, 16 F.4th 1130, 1142

(5th Cir. 2021), the FDA did not contest that a regulation caused irreparable harm when it was

undisputed that the regulation would require the plaintiff to halt its business. Here, by contrast, the

compliance costs are modest, and of the sort that tens of thousands of companies are able to bear as

an ordinary cost of doing business. Division 80 correctly rejected the argument “that any cost [a seller

of partially complete firearms] may incur by complying with the Final Rule would amount to

irreparable harm.” Div. 80, 2022 WL 3648454, at *4. Rather, “[i]t remains that in this circuit, a

‘preliminary injunction is not appropriate where the potential harm to the movant is strictly financial,

unless the potential economic loss is so great as to threaten the existence of the movant’s business.’”

Id. (quoting Andritz Sundwig GmbH v. United States, No. CV 4:18-2061, 2018 WL 3218006, at *10 (S.D.

Tex. July 2, 2018)).

        Further, Plaintiffs misunderstand ATF’s statements in asserting erroneously that ATF

“acknowledge[s] they are shutting down an entire industry.” Pls.’ Mem. at 36. As explained above,

the burdens of obtaining a license and complying with federal regulations are modest, so there is no



not before the court” rather than “fairly traceable to the challenged action of the defendant[s].” Lujan
v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (citation and internal punctuation omitted).
                                                  32
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reason to believe that businesses who wish to sell partially completed frames and receivers to

individuals legally entitled to possess firearms will be unable to do so. Rather, the reason that ATF

anticipates that such businesses may choose not to become licensed is because persons prohibited

from possessing firearms under federal law tend to prefer to purchase unserialized, easy-to-complete

frames and receivers without a background check, which they can readily convert into useable

firearms. See ATF Response to FBI Criminal Justice Information Services comment at 2 (App’x at 3)

(explaining that firearm parts kits with partially complete frames or receivers “are currently desired

because they are perceived as unregulated, and are not marked with serial numbers”). To the extent

the business model of sellers of partially completed frames and receivers is premised on circumvention

of the GCA’s regulatory scheme, they may choose not to operate within that regulatory scheme. But

the ATF’s analysis “does not suggest that those without licenses could not obtain one and maintain

their businesses—just that they would not wish to do so.” Div. 80, 2022 WL 3648454, at *3.

        Finally, individual Plaintiffs VanDerStok and Andren fail to show that the Rule causes them

imminent irreparable harm. Both individual Plaintiffs aver that they “wish to continue to acquire

[partially completed receivers] in the future” in order to manufacture their own weapons, VanDerStok

Decl. ¶ 7; Andren Decl. ¶ 7, but they do not state that they plan to purchase such products imminently

or at any specific time. Such indefinite future plans are insufficient to establish Article III standing,

let alone imminent irreparable harm. See Lujan, 504 U.S. at 564 (“Such ‘some day’ intentions—without

any description of concrete plans, or indeed even any specification of when the some day will be—do

not support a finding of the ‘actual or imminent’ injury that our cases require”). Moreover, the Rule

does not prevent Plaintiffs from purchasing partially complete frames or receivers or making their

own firearms; it merely requires that Plaintiffs pass a background check and purchase the products

from an FFL. If, as Plaintiffs aver, they are not legally prohibited from possessing firearms and have

passed a federal background check before, VanDerStok Decl. ¶ 3; Andren Decl. ¶ 3, they could surely

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do so again. Although Plaintiffs state that they wish to purchase partially completed receivers “without

involvement of an FFL,” VanDerStok Decl. ¶ 7; Andren Decl. ¶ 7, they fail to articulate how the

involvement of an FFL causes them any harm, let alone irreparable harm.

III.    The Balance of Equities and Public Interest Make Injunctive Relief Inappropriate.

        Although the balance of the equities and the public interest typically are considered as separate

factors in the preliminary injunction analysis, “[t]hese factors merge when the Government is the

opposing party.” Nken, 556 U.S. at 435. Here, these combined factors strongly counsel against issuing

the requested preliminary injunction.

        Congress has determined that certain dangerous persons must not possess firearms; that

persons or entities who regularly buy and sell firearms for profit must be licensed; that firearms must

bear serial numbers to aid law enforcement in the event that a firearm is used to commit a crime; and

that licensed dealers must keep records of their firearm sales for the same reason. See 18 U.S.C.

§ 922(g); see also supra Statutory Background. Congress further provided that a “firearm” includes “the

frame or receiver of any such weapon” and left it to ATF to define that subsidiary term. 18 U.S.C.

§ 921(a)(3)(B). ATF has exercised that authority to promulgate the Rule. Under such circumstances,

if “a State is enjoined by a court from effectuating statutes enacted by representatives of its people, it

suffers a form of irreparable injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in

chambers).

        Moreover, granting Plaintiffs’ requested preliminary injunction would significantly harm the

government’s interests in law enforcement and public safety. The Rule will “increase public safety by,

among other things, preventing prohibited persons from acquiring firearms and allowing law

enforcement to trace firearms involved in crime.” 87 Fed. Reg. at 24,654. The government has a

“compelling interest[]” in protecting “public safety.” Nat’l Treasury Emps. Union v. Von Raab, 489 U.S.

656, 677 (1989). The public consequences of permitting unlicensed merchants to sell firearms without


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serial numbers, without keeping purchase records, and without confirming purchasers’ eligibility to

possess firearms weighs heavily against granting an injunction.

        On the other side of the balance, the harms claimed by Plaintiffs are speculative or modest.

See supra II.B. Even if Plaintiffs alleged that the Rule would impose substantial costs on them, which

they do not, that would not outweigh the government’s compelling interest in preventing violent

crime. See, e.g., Slocum v. City of Cleveland Heights, No. 1:14CV532, 2014 WL 1237534, at *5 (N.D. Ohio

Mar. 25, 2014) (holding that “the interest in protecting the public from . . . gun violence” outweighed

allegedly “substantial damage to [the plaintiffs’] financial condition and loss of goodwill”).

        Morehouse and Division 80 correctly concluded that the balance of the equities and the public

interest both weigh against enjoining the Rule. Morehouse, 2022 WL 3597299, at *12 (“The rather

speculative risk of harm to the Plaintiffs, on the one hand, does not outweigh the harm to the ATF’s

interest in law enforcement and public safety, on the other.”); Div. 80, 2022 WL 3648454 at *6 (plaintiff

could not show how government’s interest in “decreas[ing] the number of untraceable firearms in

circulation, thus facilitating law enforcement’s efforts to keep guns out of the hands of criminals” was

“outweighed by equities favoring itself and similarly situated entities”). Accordingly, Plaintiffs are not

entitled to a preliminary injunction, and the Court need not reach the merits of their claims. See Def.

Distributed v. U.S. Dep’t of State, 838 F.3d 451, 460 (5th Cir. 2016).

        IV.     Any Relief Ordered Should Be Appropriately Limited.

        In the event the Court were to disagree with Defendants, any relief ordered should be no

broader than necessary to remedy any demonstrated harms of the Plaintiffs in this case. “A plaintiff’s

remedy must be tailored to redress the plaintiff’s particular injury,” Gill v. Whitford, 138 S. Ct. 1916,

1934 (2018), and “injunctive relief should be no more burdensome to the defendant than necessary

to provide complete relief to the plaintiffs,” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994)

(citation omitted). “A district court abuses its discretion if it does not ‘narrowly tailor an injunction

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to remedy the specific action which gives rise to the order.’” ODonnell v. Harris Cnty., 892 F.3d 147,

163 (5th Cir. 2018) (quoting John Doe # 1 v. Veneman, 380 F.3d 807, 818 (5th Cir. 2004)), overruled on

other grounds by Daves v. Dallas Cnty., 22 F.4th 522, 534 (5th Cir. 2022). Plaintiffs fail to demonstrate

that this case is an appropriate vehicle for “one district court [to] make a binding judgment for the

entire country.” Becerra, 20 F.4th at 263; see id. at 264 (granting stay pending appeal to all but the

plaintiff-states); see also Div. 80, 2022 WL 3648454, at *5 (concluding that even if plaintiff had been

entitled to an injunction, a nationwide injunction would have been inappropriate). Further, the Rule

contains an express severability clause. 87 Fed. Reg. at 24,730. Typically, “[w]hether the offending

portion of a regulation is severable depends upon [1] the intent of the agency and [2] upon whether

the remainder of the regulation could function sensibly without the stricken provision.” MD/DC/DE

Broads. Ass’n v. FCC, 236 F.3d 13, 22 (D.C. Cir. 2001); accord Sw. Elec. Power Co. v. U.S. EPA, 920 F.3d

999, 1033 (5th Cir. 2019) (vacating only “the portions of the final rule” the court decided were

unlawful). The Rule’s severability clause makes clear ATF’s intentions with respect to severability. See

Alaska Airlines, Inc. v. Brock, 480 U.S. 678, 686 (1987). Thus, any “objectionable provision[s]” should

be “excised” from the rest of the Rule. Id.

                                           CONCLUSION

        The Court should deny Plaintiffs’ motion for preliminary injunction.




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DATED: August 29, 2022                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       On August 29, 2022, I electronically submitted the foregoing document with the clerk of court

for the U.S. District Court, Northern District of Texas, using the electronic case filing system of the

court. I hereby certify that I have served all parties electronically or by another manner authorized by

Federal Rule of Civil Procedure 5(b)(2).

                                                                       /s/ Martin M. Tomlinson
